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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    STAGE STORES, INC., et al.,1                                     ) Case No. 20-32564 (DRJ)
                                                                     )
                              Debtors.                               ) (Jointly Administered)
                                                                     )

           NOTICE OF PLAN SUPPLEMENT FOR THE JOINT AMENDED
    CHAPTER 11 PLAN OF STAGE STORES, INC. AND SPECIALTY RETAILERS, INC.

        PLEASE TAKE NOTICE THAT the debtors and debtors in possession (collectively,
the “Debtors”) hereby file this Notice of Plan Supplement for the Joint Amended Chapter 11 Plan
of Stage Stores, Inc. and Specialty Retailers, Inc (as may be amended from time to time,
the “Plan Supplement”).2

        PLEASE TAKE FURTHER NOTICE that the Debtors hereby file this Plan Supplement
in support of confirmation of the Plan. The schedules contained in the Plan Supplement are
integral to, part of, and incorporated by reference into the Plan. The Plan Supplement schedules
have not yet been approved by the Bankruptcy Court. If the Plan is approved, the schedules
contained in the Plan Supplement will be approved by the Bankruptcy Court pursuant to the
Confirmation Order.

       PLEASE TAKE FURTHER NOTICE that the Plan Supplement contains the following
schedules, as may be amended, modified, or supplemented from time to time by the Debtors in
accordance with the Plan.

                                            TABLE OF CONTENTS

      Exhibit     Description
         A        Schedule of Assumed Executory Contracts and Unexpired Leases
         B        Schedule of Retained Causes of Action
         C        Identity and Terms of Compensation of the Plan Administrator


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Stage Stores, Inc. (6900) and Specialty Retailers, Inc. (1900). The Debtors’ service address is:
      2425 West Loop South, Houston, Texas 77027.

2     Capitalized terms used but not defined herein have the same meaning as set forth in the Joint Amended Chapter
      11 Plan of Stage Stores, Inc. and Specialty Retailers, Inc. [Docket No. 536] (as may be amended, modified, or
      supplemented from time to time, the “Plan”).
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       PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Bankruptcy
Court will consider Confirmation of the Plan (the “Confirmation Hearing”) will commence on
August 14, 2020, at 2:30 p.m. prevailing Central Time, before the Honorable David R. Jones, in
the United States Bankruptcy Court for the Southern District of Texas, located at 515 Rusk Street,
Houston, Texas 77002, Courtroom 400.

        PLEASE TAKE FURTHER NOTICE THAT the deadline for filing objections to the
Plan is August 7, 2020, at 4:00 p.m. prevailing Central Time (the “Plan Objection Deadline”).
Any objection to the Plan must: (a) be in writing; (b) conform to the Bankruptcy Rules, the Local
Rules, and any orders of the Bankruptcy Court; (c) state, with particularity, the basis and nature of
any objection to the Plan and, if practicable, a proposed modification to the Plan that would resolve
such objection; and (d) be filed with the Bankruptcy Court (contemporaneously with a proof of
service) and served upon the following parties so as to be actually received on or before
August 7, 2020, at 4:00 p.m. prevailing Central Time:

 Debtors                                             Counsel to the Debtors

 Stage Stores, Inc.                                  Kirkland & Ellis LLP
 2425 West Loop South                                601 Lexington Avenue
 Houston, Texas 77027                                New York, New York 10022
 Attn: Office of the General Counsel                 Attn.: Joshua A. Sussberg, P.C.
                                                            Neil E. Herman

                                                     and

                                                     Kirkland & Ellis LLP
                                                     300 North LaSalle
                                                     Chicago, Illinois 60654
                                                     Attn.: Joshua A. Altman
                                                            Kevin S. McClelland

                                                     and

                                                     Jackson Walker L.L.P
                                                     1401 McKinney Street, Suite 1900
                                                     Houston, Texas 77010
                                                     Attn.: Mathew D. Cavenaugh
                                                            Jennifer F. Wertz

 Counsel to the Prepetition Secured Agents           Counsel to the Committee

 Riemer & Braunstein LLP                             Cole Schotz P.C.
 Seven Times Square, Suite 2506                      1325 Avenue of the Americas | 19th Floor
 New York, NY                                        New York, NY 10019
 Attn: Seven E. Fox                                  Attn: Seth Van Aalten



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                                                and

                                                Cooley LLP
                                                55 Hudson Yards
                                                New York, NY 10001
                                                Attn: Jay Indyke

                                  United States Trustee

                                 The United States Trustee
                                515 Rusk Street, Suite 3516
                                  Houston, Texas 77002
                         Attn.: Hector Duran and Stephen Statham


        PLEASE TAKE FURTHER NOTICE THAT that copies of all documents filed in these
chapter 11 cases are available free of charge by visiting the website of Stretto at
http://www.kccllc.net/stagestores. You may also obtain copies of any pleadings via PACER on
the Court’s website at https://ecf.txsb.uscourts.gov for a fee.




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Houston, Texas
July 31, 2020

/s/ Matthew D. Cavenaugh
JACKSON WALKER L.L.P.                            KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)       KIRKLAND & ELLIS INTERNATIONAL LLP
Jennifer F. Wertz (TX Bar No. 24072822)          Joshua A. Sussberg, P.C. (admitted pro hac vice)
Kristhy M. Peguero (TX Bar No. 24102776)         Neil E. Herman (admitted pro hac vice)
Veronica A. Polnick (TX Bar No. 24079148)        601 Lexington Avenue
1401 McKinney Street, Suite 1900                 New York, New York 10022
Houston, Texas 77010                             Telephone:     (212) 446-4800
Telephone:      (713) 752-4200                   Facsimile:     (212) 446-4900
Facsimile:      (713) 752-4221                   Email:         joshua.sussberg@kirkland.com
Email:          mcavenaugh@jw.com                               neil.herman@kirkland.com
                jwertz@jw.com
                kpeguero@jw.com                  -and-
                vpolnick@jw.com

                                                 Joshua M. Altman (admitted pro hac vice)
Co-Counsel to the Debtors                        300 North LaSalle Street
and Debtors in Possession                        Chicago, Illinois 60654
                                                 Telephone:       (312) 862-2000
                                                 Facsimile:       (312) 862-2200
                                                 Email:           josh.altman@kirkland.com

                                                 Co-Counsel to the Debtors
                                                 and Debtors in Possession




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                                     Certificate of Service

        I certify that on July 31, 2020, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh
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                                           Exhibit A


               Assumed Executory Contract and Unexpired Lease Documents

        The Debtors are not seeking to assume any Executory Contracts or Unexpired Leases at
this time; provided that the Debtors reserve the right to alter, amend, modify, or supplement the
Schedule of Assumed Executory Contracts.
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                                             Exhibit B

                             Schedule of Retained Causes of Action

Article IV.M of the Plan provides that in accordance with section 1123(b) of the Bankruptcy Code,
but subject to Article IX thereof the Wind-Down Debtors, as applicable, shall retain and may
enforce all rights to commence and pursue, as appropriate, any and all Causes of Action, whether
arising before or after the Petition Date, including any actions specifically enumerated in the
Schedule of Retained Causes of Action, and the Wind-Down Debtors’ rights to commence,
prosecute, or settle such Causes of Action shall be preserved notwithstanding the occurrence of
the Effective Date, other than the Causes of Action released by the Debtors pursuant to the releases
and exculpations contained in the Plan, including in Article IX.” For the avoidance of doubt,
nothing in this Plan Supplement modifies this definition in the Plan.

The Wind-Down Debtors may pursue such Causes of Action, as appropriate, in accordance with
the best interests of the Wind-Down Debtors. No Entity may rely on the absence of a specific
reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of
Action against it as any indication that the Debtors or the Wind-Down Debtors, as applicable,
will not pursue any and all available Causes of Action against it. The Debtors or the
Wind-Down Debtors, as applicable, expressly reserve all rights to prosecute any and all
Causes of Action against any Entity, except as otherwise expressly provided in the Plan,
including Article IX of the Plan. Unless any Causes of Action against an Entity are expressly
waived, relinquished, exculpated, released, compromised, or settled in the Plan or a Bankruptcy
Court order, the Wind-Down Debtors expressly reserve all Causes of Action, for later adjudication,
and, therefore, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel,
issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall
apply to such Causes of Action upon, after, or as a consequence of the Confirmation or
Consummation.

Pursuant to the Plan, on the Effective Date, the Retained Causes of Action shall vest in the
Wind-Down Debtors. The Retained Causes of Action include among other things, all of the
Debtors’ claims (as defined in section 105(5) of the Bankruptcy Code) and Causes of Action
(including defenses, counter-claims, and other rights), in each case, relating to the following, to
the extent not otherwise released by the release and exculpations contained in the Plan, including
in Article IX:

   any and all Claims and Causes of Action related to accounts receivable and accounts payable
    against or related to all Entities that owe or that may in the future owe money to the Debtors
    or the Wind-Down Debtors. Furthermore, the Debtors expressly reserve all Causes of Action
    against or related to all Entities who assert or may assert that the Debtors or Wind-Down
    Debtors owe money to them;

   any and all Causes of Action based in whole or in part upon any and all postings of a security
    deposit, adequate assurance payment, or any other type of deposit of collateral, regardless of
    whether such posting of security deposit, adequate assurance payment, or other type of deposit
    or collateral is specifically identified herein;
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   any and all Causes of Action based in whole or in part upon any and all liens;

   any and all Causes of Action, based in whole or in part upon any and all contracts and leases
    to which any Debtor or Wind-Down Debtor is a party or pursuant to which any Debtor or
    Wind-Down Debtor has any rights whatsoever including, without limitation, Causes of Action
    against vendors, suppliers of goods or services, or any other parties: (a) for overpayments,
    back charges, duplicate payments, improper holdbacks, deposits, warranties, guarantees,
    indemnities, recoupment, or setoff; (b) for wrongful or improper termination, suspension of
    services or supply of goods, or failure to meet other contractual or regulatory obligations; (c)
    for failure to fully perform or to condition performance on additional requirements under
    contracts with any one or more of the Debtors before the assumption or rejection, if applicable,
    of such contracts; (d) for payments, deposits, holdbacks, reserves, or other amounts owed by
    any creditor, utility, supplier, vendor, insurer, surety, factor, lender, bondholder, lessor, or
    other party; (e) for any liens, including mechanic’s, artisan’s, materialmen’s, possessory, or
    statutory liens held by any one or more of the Debtors; (f) counter-claims and defenses related
    to any contractual obligations; (g) any turnover actions arising under section 542 or 543 of the
    Bankruptcy Code; (h) for unfair competition, interference with contract or potential business
    advantage, breach of contract, infringement of intellectual property, or any business tort
    claims; and (i) any accumulated service credits, both those that may apply to future vendor
    invoices and those from which the Debtors may be entitled to receive a refund;

   any and all Causes of Action against or related to all customers that owe or may in the future
    owe money to the Debtors or the Wind-Down Debtors, whether for unpaid bills or any other
    matter whatsoever;

   any and all Causes of Action related to audits involving any of the Debtors;

   any and all Causes of Action brought by, or that might later be brought by, any local, state,
    federal, or foreign “governmental unit” (as defined in section 101(27) of the Bankruptcy Code)
    related to any of the Debtors;

   any and all settlement agreements (or similar documents) involving any of the Debtors;

   any and all Causes of Action relating to any Assumed Executory Contract or Unexpired Lease;

   any and all Causes of Action against or related to all Entities that owe or that may in the future
    owe money related to tax refunds to the Debtors or Wind-Down Debtors, regardless of whether
    such Entity is specifically identified herein. Furthermore, the Debtors expressly reserve all
    Causes of Action against or related to all Entities who assert or may assert that the Debtors or
    the Wind-Down Debtors owe taxes to them, including without limitation those tax related
    Causes of Action identified on Schedule B(i) attached hereto;

   any and all Causes of Action based in whole or in part upon any and all insurance contracts
    and insurance policies to which any Debtor or Wind-Down Debtor is a party or pursuant to
    which any Debtor or Wind-Down Debtor has any rights whatsoever, regardless of whether
    such contract or policy is specifically identified herein, including Causes of Action against
    insurance carriers, reinsurance carriers, insurance brokers, underwriters, occurrence carriers,
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    or surety bond issuers relating to coverage, indemnity, contribution, reimbursement, or any
    other matters, including without limitation those insurance contracts and insurance policies
    identified on Schedule B(ii) attached hereto; and

   any and all Causes of Action against or related to all Entities that are party to or that may in
    the future become party to litigation, arbitration, or any other type of adversarial proceeding or
    dispute resolution proceeding, whether formal or informal or judicial or non-judicial, including
    those litigation, arbitration, or other types of adversarial proceedings or dispute resolution
    proceedings, regardless of whether such Entity is specifically identified in the Plan, this Plan
    Supplement, or any amendments thereto, including without limitation those litigations
    identified on Schedule B(iii) attached hereto.
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                               Schedule B(i)

    Schedule of Retained Causes of Action Related to Tax and Tax Refunds
Stage Stores     Case 20-32564 Document 638 Filed in TXSB on 07/31/20 Page 11 of 17
Retained Causes of Action - Tax

           Debtor                      Taxing Authority       Tax Type                        Address                          Description
Stage Stores, Inc.          Federal IRS                   Corporate Income Internal Revenue Service          Federal refund due to CARES Act for Fiscal year
                                                                           P.O. Box 1214                     2018 NOL carryback to 2013, 2014, and 2015
                                                                           Charlotte, NC 28201-1214          fiscal years
Stage Stores, Inc.          State of Louisiana            State Franchise  Louisiana Department of Revenue   Franchise Taxes Receivable - State of Louisiana
                                                                           PO Box 91011                      (Estimated)
                                                                           Baton Rouge, LA 70821-9011
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                               Schedule B(ii)

Schedule of Retained Causes of Action Related to Insurance Contracts and Policies
Stage Stores                              Case 20-32564 Document 638 Filed in TXSB on 07/31/20 Page 13 of 17
Retained Causes of Action - Insurance

            Debtor                      Description of Claim                                         Policy Coverage                                                     Policy Number                                        Policy End Date
Specialty Retailers, Inc.   Storm damage at Store 251 (Wharton, TX)       - Zurich American Insurance Company: All-Risk Property - Primary        - Zurich American Insurance Company: #MLP0147494-02   - Zurich American Insurance Company: 5/31/2021

                                                                          - Lloyd's of London (Various Syndicates): All-Risk Property - Primary   - Lloyd's of London (Various Syndicates): PG2002306   - Lloyd's of London (Various Syndicates): 5/31/2021

Specialty Retailers, Inc.   Storm damage at Store 111 (Midland, TX)       - Zurich American Insurance Company: All-Risk Property - Primary        - Zurich American Insurance Company: #MLP0147494-02   - Zurich American Insurance Company: 5/31/2021

                                                                          - Lloyd's of London (Various Syndicates): All-Risk Property - Primary   - Lloyd's of London (Various Syndicates): PG2002306   - Lloyd's of London (Various Syndicates): 5/31/2021

Specialty Retailers, Inc.   Storm damage at Stores 19 (Conroe, TX), 120   - Zurich American Insurance Company: All-Risk Property - Primary        - Zurich American Insurance Company: #MLP0147494-02   - Zurich American Insurance Company: 5/31/2021
                            (Port Arthur, TX)
                                                                          - Lloyd's of London (Various Syndicates): All-Risk Property - Primary   - Lloyd's of London (Various Syndicates): PG2002306   - Lloyd's of London (Various Syndicates): 5/31/2021

Specialty Retailers, Inc.   Fire, Smoke damage at Store 6081 (Wichita,    - Zurich American Insurance Company: All-Risk Property - Primary        - Zurich American Insurance Company: #MLP0147494-02   - Zurich American Insurance Company: 5/31/2021
                            KS)
                                                                          - Lloyd's of London (Various Syndicates): All-Risk Property - Primary   - Lloyd's of London (Various Syndicates): PG2002306   - Lloyd's of London (Various Syndicates): 5/31/2021

Specialty Retailers, Inc.   Storm damage at Store 69 (Beeville, TX)       - Zurich American Insurance Company: All-Risk Property - Primary        - Zurich American Insurance Company: #MLP0147494-02   - Zurich American Insurance Company: 5/31/2021

                                                                          - Lloyd's of London (Various Syndicates): All-Risk Property - Primary   - Lloyd's of London (Various Syndicates): PG2002306   - Lloyd's of London (Various Syndicates): 5/31/2021
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                             Schedule B(iii)

         Schedule of Retained Causes of Action Related to Litigation
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Stage Stores
Retained Causes of Action - Litigation

            Debtor                        Party names              Debtor Position                      Caption of Suit                              Case Number
Specialty Retailers, Inc.     Stumpf, Amy, et al.                 Defendant          Amy Stumpf, et al., v. Specialty Retailers, Inc., et     20-03303
Specialty Retailers, Inc.     O'Neal, Kaisha                      Defendant          Employment claim                                         N/A
Specialty Retailers, Inc.     Rucker, Spencer                     Defendant          Employment claim                                         N/A
Specialty Retailers, Inc.                                         Defendant          Iesiah Harris, et al. v. Specialty Retailers, Inc., et
                              Harris, Iesiah                                         al.                                                      6:20-cv-06205
Specialty Retailers, Inc.                                         Defendant          Lynn Hoskins v. Stage Stores, Inc. and Specialty
                              Hoskins, Lynn                                          Retailers, Inc.                                          36D01-2007-CT-000048
Specialty Retailers, Inc.     ADA Investigation of Palais Royal   Defendant          N/A                                                      N/A
Specialty Retailers, Inc.     Al-Kassas , Gale                    Defendant          Gale Al-Kassas v. Specialty Retailers, Inc., et al.      2018-23300
Specialty Retailers, Inc.     Barker, Amber                       Defendant          EEO Charge                                               AKR73(40500)11222019;22A-
                                                                                                                                              2020-00596C
Specialty Retailers, Inc.     Barnes, Jacquelyn                   Defendant          Jacquelyn Barnes v. Specialty Retailers, Inc., et        201943051
                                                                                     al.
Specialty Retailers, Inc.     Brown, Calvin                       Defendant          Calvin Brown v. Specialty Retailers, Inc., et al.        CV-2020-
Specialty Retailers, Inc.     Brown, Mary Inez                    Defendant          Mary Inez Brown v. Specialty Retailers, Inc., et         164018
                                                                                     al.
Specialty Retailers, Inc.     Cade, Akemia                        Defendant          Akemia Cade v. Specialty Retailers, Inc., et al.         19-0533
Specialty Retailers, Inc.     Cagle, Lynne                        Defendant          Lynne Cagle v. Specialty Retailers, Inc., et al.         4040
Specialty Retailers, Inc.     Claiborne, Vicki                    Defendant          Vicki Claiborne v. Specialty Retailers, Inc., et al.     3:19-CV-298-JRG-DCP
Specialty Retailers, Inc.     Copeland, Andrea                    Defendant          EEO Charge                                               450-2019-03429
                                                                  Defendant          Maya Crosby, et al. v. Specialty Retailers, Inc., et
Specialty Retailers, Inc.     Crosby, Maya, et al.                                   al.                                                      3:18cv503
                                                                  Defendant          CXT Systems, Inc. v. Specialty Retailers, Inc., et
Specialty Retailers, Inc.     CXT Systems                                            al.                                                      2:18-cv-00234
                                                                  Defendant          Claudia Del Angel v. Specialty Retailers, Inc., et
Specialty Retailers, Inc.     Del Angel, Claudia                                     al.                                                      2018DCL05374-G
                                                                  Defendant          Patricia Del Castillo v. Specialty Retailers, Inc.,
Specialty Retailers, Inc.     Del Castillo, Patricia                                 et al.                                                   2020DCV1195
Specialty Retailers, Inc.     Dessert, Meralyse                   Defendant          EEO Charge                                               532-2019-02298
Specialty Retailers, Inc.     Eckenrode, Christine                Defendant          EEO Charge                                               FE2020102043
                                                                  Defendant
Specialty Retailers, Inc.     Eufracio, Joseph                                       Joseph Eufracio v. Specialty Retailers, Inc., et al.     CL-17-2236-B
Specialty Retailers, Inc.     Falcon, Audrey                      Defendant          Audrey Falcon v. Specialty Retailers, Inc., et al.       134667
Specialty Retailers, Inc.     Foster, Melinda                     Defendant          Melinda Foster v. Specialty Retailers, Inc., et al.      2017-2642
                                                                  Defendant          GBR Properties, Inc. v. Specialty Retailers, Inc.,
Specialty Retailers, Inc.     GBR Properties, Inc.                                   et al.                                                   CJ-2020-01471
                                                                  Defendant          GCCLE Shadow Creek, LP v. Specialty
Specialty Retailers, Inc.     GCCLE Shadow Creek, LP                                 Retailers, Inc., et al.                                  2017-76210
Specialty Retailers, Inc.     Goddard, Rebecca                    Respondent         EEO Charge                                               15-1061
Specialty Retailers, Inc.     Goody's                             Respondent         OSHA Inquiry                                             1558079
                                                                  Respondent
Specialty Retailers, Inc.     Goodys Store #5188                                     Work Authorization Audit                                 046-0197-18/19
                                                                  Respondent
Specialty Retailers, Inc.     Goodys Store #5190                                     Work Authorization Audit                                 330275-15/16
                                                                  Respondent
Specialty Retailers, Inc.     Goodys Store #5248                                     Work Authorization Audit                                 049-0058-18/19
                                                                  Defendant          Maria Oralia Garcia Morales v. Specialty
Specialty Retailers, Inc.     Gracia Morales, Maria Oralia                           Retailers, Inc., et al.                                  19-08-37696
Specialty Retailers, Inc.     Green, Charlotte                    Respondent         State Wage Claim                                         20-052870-0
Specialty Retailers, Inc.     Hollis, Charlotte                   Defendant          Charlotte Hollis v. Specialty Retailers, Inc., et al.    2018-40994
Specialty Retailers, Inc.     Huffman, Joann                      Respondent         EEO Charge                                               474-2020-00640
Specialty Retailers, Inc.     Kieser, Mike                        Defendant          Mike Kieser v. Specialty Retailers, Inc., et al.         CV17-02392
                                                                  Defendant          KNS Internatiopnal, LLC v. Specialty Retailers,
Specialty Retailers, Inc.     KNS International, LLC                                 Inc., et al.                                             200901908
Specialty Retailers, Inc.     Lalonde, Ingrid                     Defendant          Ingrid Lalonde v. Specialty Retailers, Inc., et al.      C-20185648 I
                                                                  Defendant          Suzann Manorowitz v. Specialty Retailers, Inc.,
Specialty Retailers, Inc.     Manorowitz, Suzann                                     et al.                                                   BUR-L-1380-19
Specialty Retailers, Inc.     Meili, Carmen                       Defendant          Carmen Meili v. Specialty Retailers, Inc., et al.        2019DCV3346
                                                                  Defendant
Specialty Retailers, Inc.     Morvant, Brenda                                        Brenda Morvant v. Specialty Retailers, Inc., et al. 801-481
Specialty Retailers, Inc.     Mosley, Brenda                      Defendant          Brenda Mosley v. Specialty Retailers, Inc., et al. 18-CI-00111
                                                                  Defendant
Specialty Retailers, Inc.     MSRF, Inc.                                             MSRF, Inc. v. Specialty Retailers, Inc., et al.    2020L002530
Specialty Retailers, Inc.     Navarro, Maria                      Defendant          Maria Navarro v. Specialty Retailers, Inc., et al. 18-DCV-257448
Specialty Retailers, Inc.     Newman, Gilma                       Defendant          Gilma Newman v. Specialty Retailers, Inc., et al. D-205311
                                                                  Respondent
Specialty Retailers, Inc.     Pebbles Store #5002                                    Work Authorization Audit                                 045-0101-18/19
                                                                  Respondent
Specialty Retailers, Inc.     Pebbles Store #5002                                    Work Authorization Audit                                 330364-15/16
                                                                  Respondent
Specialty Retailers, Inc.     Peebles Store #5103                                    Work Authorization Audit                                 048-0039-17/18
Specialty Retailers, Inc.     Peebles Store #5128                 Respondent         State Wage Claim                                         None
Specialty Retailers, Inc.     Peters, Caroline                    Defendant          Caroline Peters v. Specialty Retailers, Inc., et al.     2807 0F 2019
Specialty Retailers, Inc.     Petrice, Connie                     Defendant          Connie Petrice v. Specialty Retailers, Inc., et al.      18-C-119
                                                                  Defendant
Specialty Retailers, Inc.     Pine Plaza, LLC                                        Pine Plaza, LLC v. Specialty Retailers, Inc., et al. 61406
                                                                  Defendant
Specialty Retailers, Inc.     Qazi, Maleeha, et al.                                  Maleeha Qazi v. Specialty Retailers, Inc., et al.        4:18cv780
                                                                  Defendant          Ricardo Ramos, Jr. v. Specialty Retailers, Inc., et
Specialty Retailers, Inc.     Ramos Jr., Ricardo                                     al.                                                      55:19-CV-0123AM
Specialty Retailers, Inc.     Rocha, Nieves                       Defendant          Nieves Rocha v. Specialty Retailers, Inc., et al.        CL-18-5344-D
Specialty Retailers, Inc.     Roddy, Katesha                      Respondent         EEO Charge                                               493-2019-02142
Specialty Retailers, Inc.     Romans, Loretta                     Respondent         State Wage Claim                                         20-053816-1
                                                                  Defendant
Specialty Retailers, Inc.     Sharp, Kathryn                                         Kathryn Sharp v. Specialty Retailers, Inc., et al.       4:19cv1979
Specialty Retailers, Inc.     Small, William                      Respondent         EEO Charge                                               460-2019-06425
                                                                  Defendant          Southwest Specialty Food, Inc. v. Specialty
Specialty Retailers, Inc.     Southwest Specialty Food, Inc.                         Retailers, Inc., et al.                                  CV2020-003558
                                                                   Plaintiff
Specialty Retailers, Inc.     PowerReviews                                           Specialty Retailers, Inc. v. PowerReviews, Inc.          4:19cv2447
Specialty Retailers, Inc.     Stanwyck, Marc                       Respondent        EEO Charge                                               450-2012-02833
Specialty Retailers, Inc.     Stanwyck, Marc                       Respondent        EEO Charge                                               450-2014-00661
                              Tamarack Village Shopping Center, A Defendant          Tamarack Village Shopping Center, a Limited
Specialty Retailers, Inc.     Limited Partnership                                    Partnership, v. Specialty Retailers, Inc., et al.        N/A
                                                                   Defendant
Specialty Retailers, Inc.     TFI, Inc.                                              TFI, Inc. v. Specialty Retailers, Inc., et al.           202018584
                                                                   Defendant         Trend Offset Printing Services, Inc. v. Specialty
Specialty Retailers, Inc.     Trend Offset Printing Services, Inc.                   Retailers, Inc., et al.                                  202025209
                                                                   Defendant         Jennifer Tromley v. Specialty Retailers, Inc., et
Specialty Retailers, Inc.     Tromley, Jennifer                                      al.                                                      202014827
Specialty Retailers, Inc.     Tupa, Carol                          Defendant         Carol Tupa v. Specialty Retailers, Inc., et al.          652-21
                                                                   Defendant         Reece and Joyce Turner v. Specialty Retailers,
Specialty Retailers, Inc.     Turner, Reece and Joyce                                Inc., et al.                                             49745
                                                                   Defendant         Pamela VanDyke v. Specialty Retailers, Inc., et
Specialty Retailers, Inc.     VanDyke, Pamela                                        al.                                                      4011
Specialty Retailers, Inc.     Wade, Mikayla                        Respondent        State Wage Claim                                         No Number
                                                                   Defendant         Western Glove Works v. Specialty Retailers,
Specialty Retailers, Inc.     Western Glove Works                                    Inc., et al.                                             202022050
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Stage Stores
Retained Causes of Action - Litigation

            Debtor                         Party names    Debtor Position                    Caption of Suit                            Case Number
Specialty Retailers, Inc.     Whitehall, Donald          Respondent         EEO Charge                                           NEB 2-18/19-3-50299-RS
                                                         Defendant          Jeanette Whittier v. Specialty Retailers, Inc., et
Specialty Retailers, Inc.     Whitmire, Jeanette                            al.                                                  2020-CP-39-00036
Specialty Retailers, Inc.     Wooten, Linda              Respondent         EEO Charge                                           846-2015-12211
Specialty Retailers, Inc.     Wright, Audrey             Defendant          Audrey Wright v. Specialty Retailers, Inc., et al.   19-KV-0036-5




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                                             Exhibit C

                 Identity and Terms of Compensation of the Plan Administrator

The Debtors, the Committee, and the Prepetition Secured Agents, have designated Steven
Balasiano as the Plan Administrator. As of the date hereof, the proposed engagement terms are as
follows:
       Fee Structure: Mr. Balasiano’s fees will be based on a flat monthly fee as follows: $20,000
        per month for the first three months and $15,000 per month thereafter.
       Expenses: Mr. Balasiano will also be reimbursed for reasonable out-of-pocket expenses
        including, but not limited to, costs of travel, reproduction, legal counsel, any applicable
        state sales or excise taxes, and other direct expenses.
•   Biography/Affiliations: Mr. Balasiano currently is the Owner and Principal Consultant of
    MHR Advisory Group, an advisory firm that provides legal and business consulting services
    to multiple apparel, retail and manufacturing companies. He was appointed as the Liquidating
    Trustee for the Rockport Shoe Company in December 2018, and represented multiple trade
    creditors in bankruptcy & workouts including, True Religion, Wet Seal, Payless, Nine West,
    Charming Charlie, Rue 21, Sears, National Stores, etc. From 2011 to 2012 Mr. Balasiano was
    President of Comtex U.S. the New York Office of Comtextile HK, a global sourcing company,
    with 8 buying offices throughout Asia and South East Asia producing approximately $250
    million of merchandise for numerous men’s, women and children’s brands in the industry
    including Polo, Abercrombie, Calvin Klein, Children’s Place and Perry Ellis. Mr. Balasiano
    was previously the President of Ventura Enterprise Company, an apparel manufacturer with
    multiple manufacturing facilities in Sri Lanka and over 10,000 employees. Ventura
    manufactured product for numerous retailers and brands in the US including Abercrombie and
    Fitch, Marc Jacobs, Express, Liz Claiborne, Polo Kids, Gymboree, Ann Taylor, Land’s End,
    and Eddie Bauer. From 1995 to 2007, Mr. Balasiano held various roles at The Children's Place,
    a children’s specialty apparel retailer, including Chief Administrative Officer and General
    Counsel, with direct responsibility for store development, construction, non-merchandise
    strategic sourcing, architecture, and legal and human resources. He oversaw an $800 million
    budget. Under his leadership, the company grew from 70 stores and $80 million in sales in
    1995 to over 1100 stores and $2.3 billion in sales in 2006 for The Children’s Place and Disney
    Store. From 1987 through 1995, Mr. Balasiano practiced law in the bankruptcy departments
    at the law firms of Stroock & Stroock & Lavan and Kelley Drye & Warren. Mr. Balasiano
    received his Juris Doctorate from St. John’s University School of Law and graduated with
    Honors from the State University of New York at Binghamton. Mr. Balasiano serves on the
    board of multiple not-for-profit organizations and is a consultant to the financial and real estate
    industry.
